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                                              January 21, 2025
     VIA ECF

     The Honorable John P. Cronan, U.S.D.J.
     United States District Court for the Southern
     District of New York
     500 Pearl Street, Room 1320
     New York, New York 10007

             Re:      Gartenberg et al. v. Cooper Union for the Advancement of Science and
                      Art, 1:24-cv-02669-JPC

     Dear Judge Cronan:
            I am one of the attorneys at Arnold & Porter representing Plaintiffs in the above-
     referenced case. I am a third-year associate in the firm’s New York Office.
            Earlier this month, I submitted an application for admission to the Southern District
     of New York. I was recently informed that my application has been reviewed and is
     complete, and my admission fee has been paid. I am now waiting to be advised of the date,
     time and location of my admission ceremony.
            In light of Rule 6.C of Your Honor’s Individual Rules and Practices in Civil
     Cases, I write to request that the Court waive my admission to the Southern District
     of New York for purposes of participating in the oral argument of Defendant’s motion to
     dismiss, scheduled for January 28, 2025.
             I am in good standing of the bar of the State of New York (Registration # 6015374).
     A Certificate of Good Standing, dated January 9, 2025, is annexed to this Letter at Exhibit
     A. There are no pending disciplinary proceedings against me in any state or federal court.
     I have never been convicted of a felony. I have never been censured, suspended, disbarred
     or denied admission or readmission by any court.
            I appreciate the Court’s consideration of this request, and I look forward to this
     opportunity.

                                                      Respectfully submitted,
                                                      /s/ Melissa E. Romanovich
                                                      Melissa E. Romanovich
     Copies to: All counsel of record via ECF




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